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                                                  December 30, 2021



VIA E-FILE
The Honorable Joan M. Azrack
United States District Court
Eastern District of New York
Long Island Courthouse
100 Federal Plaza
Central Islip, NY 11722


        Re:    Michael Chavez v. Charles Baratta LLC et al.
               Civil Action No: 2:21-CV-06771-JMA-JMW
               Unopposed Letter Motion to Extend Time to Respond to Complaint


Dear Judge Azrack:

       This law firm was recently retained to represent Defendant Charles Baratta LLC
(“Defendant”) in the above-captioned lawsuit. Defendant writes to respectfully request a 30-day
extension of time to move, answer, or otherwise respond to the Complaint up to and including
February 2, 2022. The deadline is presently January 3, 2022

        The reason for this request is that Defendant recently retained us to represent it in this
dispute and, as such, we require additional time to investigate the Complaint’s allegations and
prepare an appropriate response. This is Defendant’s first request for an extension of this deadline.
Plaintiff does not oppose the relief requested herein. This request affects no other scheduled
deadline or court appearance. Accordingly, Defendant respectfully requests that its deadline to
move, answer or otherwise respond to the Complaint be extended from January 3, 2022 to February
2, 2022.

        We thank the Court for its time and attention to this matter.

                                                  Respectfully submitted,

                                                  BENESCH, FRIEDLANDER,
                                                   COPLAN & ARONOFF LLP

                                                  /s/ Edward C. Wipper

                                                  Edward C. Wipper


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